Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 1 of 18 PageID #: 2858




                                      IN THE
                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION



  UNITED STATES OF AMERICA,                    )
                                               )              No. 98-cr-0038-JMS-MJD-01
                                               )
                  v.                           )              Hon. Jane E. Magnus-Stinson
                                               )
  ANTHONY SPRADLEY                             )



        DEFENDANT ANTHONY SPRADLEY’S REPLY IN SUPPORT OF HIS
                MOTION FOR COMPASSIONATE RELEASE

          For the first time in this case, the Court has the authority to decide whether

  ANTHONY SPRADLEY should die in prison. Mr. Spradley does not pursue the generalized

  argument that his life sentence, without more, is a sufficient condition to meet the

  extraordinary-and-compelling standard for compassionate release. Nor does he continue to

  argue that a change in law alone is sufficient. The Seventh Circuit’s decision in United States v.

  Thacker, 4 F.4th 569 (7th Cir. 2021), was decided during the pendency of Spradley’s

  compassionate release motion. In light of Thacker, Spradley understands that our Circuit’s

  precedent dictates that he cannot establish extraordinary and compelling reasons based solely

  upon a favorable, but nonretroactive change in law. 1

          Thacker does not doom Spradley’s motion for relief, however. Compassionate release

  requires the Court to engage in an individualized analysis of the unique facts presented on a


  1   Though, Mr. Spradley continues to preserve this argument for appellate review.
                                                   1
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 2 of 18 PageID #: 2859




  case-by-case basis. Here, Mr. Spradley’s extraordinary-and-compelling argument is threefold:

  (A) a life sentence is an extraordinarily harsh form of punishment, particularly for a drug

  offender who had never been imprisoned; (B) Spradley’s life sentence is disproportionately

  punitive when compared to co-Defendant Mark White; and (C) Spradley’s life sentence is

  particularly harsh given the victim’s father’s letter supporting release.

         Simply stated: It is extraordinary that Spradley continues to serve a mandatory life

  sentence that is driven by a (technically applicable) guideline provision, where an arguably

  more culpable co-defendant’s sentence was later reduced to 40-years’ imprisonment. It is

  compelling that Spradley has undertaken a long, remarkable journey of reconciliation and

  restorative justice with the victim’s father, resulting in a letter indicating that he does not

  oppose Spradley’s release. Perhaps, these facts would not carry the day when considered in

  isolation. However, Spradley presents a unique combination of facts that collectively meet the

  extraordinary-and-compelling prong of the Court’s analysis.

         Mr. Spradley’s disproportionate life sentence, his unique personal circumstances and

  efforts at atonement, when combined with Edward White’s support letter, constitute

  extraordinary and compelling reasons to warrant a sentence reduction. Furthermore, Mr.

  Spradley’s remarkable rehabilitation, the unwarranted disparity of his life sentence and the

  ongoing pandemic are § 3553(a) factors weighing in favor of his release. For the reasons that

  follow, ANTHONY SPRADLEY, by undersigned counsel MIANGEL C. CODY,

  respectfully submits this Reply in further support of his Motion for Compassionate Release.




                                                   2
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 3 of 18 PageID #: 2860




                 I.     EXTRAORDINARY AND COMPELLING REASONS

     In determining whether a sentence reduction under § 3582 is appropriate, the Court must

  first consider whether “extraordinary and compelling reasons” warrant a reduction. Then,

  the Court considers whether a reduction is consistent with the factors set forth in 18 U.S.C.

  § 3553(a). See 18 U.S.C. §3582(c)(1)(A)(i); United States v. Thacker, 4 F.4th 569, 576 (7th Cir.

  2021) (explaining the two-step process for reviewing compassionate release motions); United

  States v. Gunn, 980 F.3d 1178, 1179 (7th Cir. 2020). For this particular defendant, in this

  particular case, on these particular facts, Mr. Spradley meets both factors.


         A.      A life sentence is an extraordinarily harsh form of punishment,
                 particularly for a drug offender who had never been imprisoned.

         A life sentence is categorically severe and extraordinary. It “means denial of hope; it

  means that good behavior and character improvement are immaterial; it means that whatever

  the future might hold in store for the mind and spirit of [the convict], he will remain in

  prison for the rest of his days.” Graham v. Florida, 560 U.S. 48 (2010) (citing Naovarath v. State,

  105 Nev. 525, 526, 779 P. 2d 944 (1989)). Short of a death sentence, a life sentence is the

  second most severe punishment in our justice system. A life sentence is particularly severe

       for a drug offender whose most serious prior conviction was a $2.00 gambling fine.

         The Seventh Circuit has not definitively ruled whether a now-defunct life sentence

  may constitute an extraordinary and compelling reason for release pursuant to 18 U.S.C.

  §3582(c)(1)(A)(i). This Court need not decide that issue today because Mr. Spradley’s

  argument is that his comparatively disproportionate life sentence – when coupled with

  additional facts and circumstances – meets the standard for compassionate release.

                                                  3
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 4 of 18 PageID #: 2861




         B.     Anthony Spradley’s Life Sentence is Disproportionately Punitive When
                Compared to Co-Defendant Mark White.

                1.      The government incorrectly characterizes the record.

         The government's response is largely based upon a mischaracterization of facts in this

  case. The government contends that “Spradley aided and abetted a murder.” ECF No. 225 at

  2. There is no support in the record for the government’s errant factual assertion. The

  government did not charge Spradley with aiding and abetting a murder, the jury made no

  such finding and neither did this Court at sentencing. The Court found Willis’s murder was

  reasonably foreseeable to Spradley for purposes of applying the murder-cross reference

  guideline. That finding was based upon assertions that Mr. Spradley was present when

  Willis’s murder was discussed and that he participated in cleaning up a car after the murder

  occurred. The distinction is important. The government invites the Court to commit

  reversible error by making new factual findings at this late procedural juncture.



                2.      Spradley’s Sentence Is Disproportionately Punitive When
                        Compared to His More Culpable Co-Defendant.

         There are various circumstances that can create a sentencing disparity. For instance, a

  sentencing disparity may result from subsequent changes to a statutory penalty structure.

  Under Thacker, we now know such disparities – rooted in a change in law – do not meet the

  extraordinary and compelling standard. However, a sentencing disparity may also result from

  disproportionate penalties among co-defendants. That is precisely the argument Mr. Spradley

  makes: His life without parole sentence is extraordinarily punative when compared to he 40-



                                                 4
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 5 of 18 PageID #: 2862




  year sentence of his more culpable co-defendant Mark White (who the PSR indicates was the

  actual shooter of Marcus Willis).

         The Seventh Circuit's decision in United States v. Thacker is not the poison pill that the

  government believes it to be. In Thacker, the defendant sought compassionate release under §

  3582(c)(1)(A). He argued that extraordinary and compelling reasons warranted relief in part

  because he would face a much shorter mandatory sentence if sentenced today. Id. The

  district court denied his motion, and the Seventh Circuit affirmed, holding that Congress's

  deliberate decision to make the amendment to § 924(c) prospective only meant that the

  change to § 924(c) could not be an extraordinary and compelling reason for relief under §

  3582(c)((1)(A). Id. at 570.

         Nothing in the Seventh Circuit’s Thacker decision precludes this Court from

  concluding a disproportionately punitive sentence (when comparing co-defendants),

  in combination with other individualized factors, constitutes an extraordinary and

  compelling reason to grant release. There were six co-defendants in this case. Four co-

  defendants have already been released from prison. Only Mr. Spradley and his co-defendant

  Mark White remain incarcerated. Mr. White is scheduled to be released from BOP custody

  in 2032. There is no dispute that Anthony Spradley did not murder Marcus Willis. There is

  no dispute that Mr. Spradley was not even in the state when Willis was killed. Yet, Spradley

  is the only defendant who continues to serve a life sentence. He is the only defendant in his

  case without a release date.




                                                  5
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 6 of 18 PageID #: 2863




   Name                             Sentence                         Release Date


   Anthony Spradley                 LIFE                             NONE

   Mark White                       LIFE, reduced to 480             12/06/2032
                                    months

   Willie Boddie                    LIFE, reduced to time            01/26/2021
                                    served

   Ellis Walker                     327 months, reduced to 240
                                    months
                                                                     03/07/2016

   Dennis Jones                     293 months, reduced to 235       10/30/2015
                                    months

   Anthony Thompson                 210 months                       11/07/2014


                  3. Mr. Spradley is not relitigating old, rejected arguments.

         The government spends much of its brief casting Spradley’s motion as an attempt to

  rehash arguments that he has already lost on direct appeal or collateral review. The

  government is incorrect. Mr. Spradley does not contend that his life sentence is based upon a

  misapplication of the guidelines, nor does he challenge the technical application of the

  murder cross-reference to his case. He has already presented (and lost) those arguments in

  prior litigation. Here, he contends that his life sentence, while technically correctly calculated,

  is disproportionately punitive. He has not been able to present that argument previously.

     Indeed, these proceedings are the first opportunity for the court to consider Mr.

  Spradley’s life sentence in relation to co-Defendant White’s 40-year sentence. As the Court

  will recall, both men were originally sentenced to life imprisonment. On direct appeal, the


                                                  6
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 7 of 18 PageID #: 2864




  Seventh Circuit found vacated and remanded White’s sentence on different grounds, but it

  upheld Spradley’s. Therefore, this compassionate release motion is the first time the Court

  has had jurisdiction and the opportunity to review the proportionality of Mr. Spradley’s

  sentence when compared to co-Defendant White’s subsequently reduced 40-year penalty.


         C.      Anthony Spradley’s Life Sentence is Disproportionately Punitive Given
                 the Letter from the Victim’s Father.

         Mr. Spradley’s case is also extraordinary and compelling, given the unique support for

  his release from Edward White (the father of the murdered informant). The government’s

  response entirely ignores this fact. The government does not appear to dispute the

  importance of Mr. White’s letter.


                                   II.      THE 3553(a) FACTORS

                          “The man I once represented had to die in order for me to be the man I am today.”

                                            – Statement of Anthony Spradley, dated May 20, 2021

         Mr. Spradley’s continued incarceration results in a punishment that is greater than

  necessary to meet the parsimonious principles of federal sentencing. United States v. Dodd,

  No. 3:03-CR-00018, 2020 WL 5200900, at *5 (S.D. Iowa July 29, 2020) (“The Court's

  lodestar is to ensure the sentence is ‘sufficient, but not greater than necessary.’ ”)

         As this Court reasoned in co-defendant Willie Boddie’s case: “when considering a

  motion for sentence reduction under the First Step Act, a court can consider new statutory

  minimum or maximum penalties; current Guidelines; post-sentencing conduct; and other




                                                    7
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 8 of 18 PageID #: 2865




  relevant information about a defendant's history and conduct.” United States v. Boddie, No.

  198CR00038JMSMJD, 2021 WL 230108, at *7 (S.D. Ind. Jan. 22, 2021) (quotations omitted)


         A.      History and Characteristics; Circumstances of the Offense

         The government’s response spends just 337 words addressing Mr. Spradley’s 3553(a)

  arguments or his 25-year record of rehabilitation. It summarily concludes Mr. Spradley is a

  danger to the community but offers little to support that argument. Rather, it focuses on the

  case facts from 25 years ago and contends “this drugs and guns combination was an inherent

  danger to the community.” ECF No. 225 at 12. As an initial matter, this Court has already

  rejected a similar carte blanche argument when it granted compassionate release for co-

  defendant Boddie. As the Court acknowledged, the conspiracy in this case “was extremely

  serious” and involved “huge amounts of cocaine” and “millions of dollars.” Id. at *6.

  However, those facts were not necessarily dispositive of Your Honor’s 3553(a) analysis. As

  in Boddie’s case, Mr. Spradley “did not directly participate in the murder.” Id. In fact, Mr.

  Spradley was acquitted of the government’s charges related to Mr. Willis’s murder. His life

  sentence is driven by a judicial finding of foreseeability and a guideline cross reference that

  formerly – but no longer – mandates a life sentence.

         Tellingly, the government’s response misses the arc of Mr. Spradley’s rehabilitative

  story. The government does not mention or dispute the substantial and contemporaneous

  rehabilitation Spradley submitted in support of his release. It does not mention or dispute

  that Spradley has taken hundreds of hours of BOP classes for masonry, forklift training and




                                                  8
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 9 of 18 PageID #: 2866




  blueprint reading.2 It does not mention or dispute that Spradley has established a

  relationship with Marcus Willis’s father and that the victim’s father does not oppose

  compassionate release. Defendant has provided ample evidence that he is no longer the

  same person whom this Court incarcerated over two decades ago. Mr. Spradley’s efforts to

  communicate with Mr. Willis’s father demonstrate his incredible contrition, courage, and

  emotional growth.

         Mr. Spradley has submitted to the Court a release plan that includes his housing and

  an offer of employment. His childhood friend Kevin Lee, a music executive, has offered to

  pay for the first year of Mr. Spradley’s housing. Mr. Lee is awaiting the Court’s resolution of

  the instant motion before financially securing Mr. Spradley’s housing. Mr. Spradley will

  supplement his release information with the exact address where he would live to the

  probation office, should the Court so direct in its order.


         B.     The Need to Avoid Unwarranted Disparities

         In United States v. Black, 999 F.3d 1071 (7th Cir. 2021), the Seventh Circuit held a

  favorable, but nonretroactive change in law must be considered in the Court’s 3553(a)

  analysis when deciding a motion brought under § 3582(c)(1)(A). Though not an

  extraordinary and compelling reason for his release, see e.g. Thacker, 2021 WL 2979530, the

  current advisory guidelines scheme is a 3553(a) factor that the Court must consider when

  assessing Spradley’s motion.




  2      See Exhibit A: BOP Individualized Reentry Plan - Program Review, dated February
  28, 2020.
                                                 9
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 10 of 18 PageID #: 2867




          Indeed, it is an unwarranted disparity that the government has taken a position in this

   case directly contrary to its position in other districts. In United States v. Scott, 1:00-cr-00069-

   MR-5 (W.D.N.C. March 22, 2021) ECF No. 213 at 5, the government conceded the very

   point it opposes here. In response to defendant Scott’s compassionate release motion, the

   government acknowledged:

                  “This Court has the authority to find that extraordinary and compelling reasons
                  are present for reducing a sentence where the sentence was based on laws that
                  have been substantially revised in the intervening years, such that the prisoner
                  is stuck serving far more time than he could possibly receive if he were to be
                  resentenced today.”

   The government’s response to Mr. Spradley’s motion fails to explain why a district court judge

   sitting in the Western District of North Carolina “has the authority to find that extraordinary

   and compelling reasons are present for reducing a sentence where the sentence was based on

   laws that have been substantially revised in the intervening years” but Your Honor sitting in

   the Southern District of Indiana does not have the authority to address a life sentence that

   was – but is not longer – mandatory. The government’s inconsistent and contradictory

   positions is based purely on the coincidence of geography and, thus, create an unwarranted

   sentencing disparity that should be considered in this Court’s 3553(a) analysis. On this point,

   this Court’s opinion in co-defendant Boddie’s case is instructive:

                  Mr. Boddie has maintained an almost-perfect conduct record during his
                  incarceration and has taken steps toward rehabilitating himself, including
                  earning his GED. The Court recognizes that the guidelines called for
                  Mr. Boddie to receive a life sentence. And, it appears that, if he were sentenced
                  today, the guideline range of imprisonment would still be life. Nonetheless,
                  Mr. Boddie was sentenced in the pre-Booker era. If he were sentenced today, the
                  life-sentence guideline would not be mandatory.

   United States v. Boddie, No. 198CR00038JMSMJD, 2021 WL 230108, at *7.


                                                    10
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 11 of 18 PageID #: 2868




          As in Boddie’s case, Mr. Spradley’s life sentence is not a legislatively prescribed

   penalty, but rather a function of the then-mandatory guidelines. His case is distinguishable

   from the Court’s decisions in United States v. Newman, No. 1:96-cr-0080-SEB-DKL-01, 2020

   WL 6151250, at *3 (S.D. Ind. Oct. 19, 2020); United States v. Barrios, No. 3:02-cr-0002-RLY-

   CMM-05, ECF No. 123 (S.D. Ind. Sept. 21, 2020). And, although his guideline range

   remains life, a guideline sentence would no longer be mandatory. See also Babb v. United States,

   No. CR ELH-04-0190, 2021 WL 2315459, at *13 (D. Md. June 4, 2021)(The district court

   granted compassionate release and noted: “if [defendant] were prosecuted today, his

   Guidelines would still call for a sentence of life imprisonment, based on the murder cross

   reference. But, the Court would not be compelled to sentence him to life imprisonment.”)

          When assessing unwarranted disparities nationally, Mr. Spradley’s life sentence is

   significantly longer than recently imposed federal sentences involving murder. According to

   statistics released by the United States Sentencing Commission for fiscal year 2020, the

   national average sentence for murder was 255 months, and the Seventh Circuit average was

   slightly lower at 247 months’ imprisonment. 3




   3      The United States Sentencing Commission’s Interactive Data Analyzer is available at:
   https://ida.ussc.gov/analytics/saw.dll?Dashboard&PortalPath=%2Fshared%2FIDA%2F_p
   ortal%2FIDA%20Dashboards (last accessed Oct. 8, 2021).
                                                   11
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 12 of 18 PageID #: 2869




          For instance, in United States v. Floyd, CCB-16-597 (D. Md. July 23, 2019), Floyd was

   one of several defendants convicted of a racketeering conspiracy that included murders and

   drug conspiracy. Like Mr. Spradley, the lead defendant in Floyd was not the shooter.

   Although Floyd’s offense level and criminal history category called for a life sentence, the

   district court for the District of Maryland imposed a total sentence of 360 months'

   imprisonment. Id., ECF No. 691.

          More recently, in United States v. Antoine, PWG-19-140 (D. Md. March 19, 2021), the

   defendant was involved in a drug trafficking organization in Baltimore and confessed to the

   intentional shooting and killing of an individual in relation to the drug conspiracy. See id.,

   ECF 349 at 9-10. Pursuant to a plea agreement, Antoine entered a plea of guilty to one count

   of conspiracy to distribute controlled substances and one count of discharging a firearm

   resulting in death during and in relation to a drug trafficking crime. Id. Although the


                                                   12
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 13 of 18 PageID #: 2870




   defendant in Antoine was the shooter and confessed to murder, the district court imposed a

   total sentence of 270 months (22.5 years). Id., ECF 465. See also United States v. Brooker, 976

   F.3d 228, 237-38 (2d Cir. 2020) (holding that a court should consider “all possible reasons

   for compassionate release,” including the “injustice of [a defendant's] lengthy sentence”).

          Mr. Spradley has already served a greater number of years than the federal sentence

   confessed murderer Antoine received.



                                        III.    CONCLUSION

          Based on the above considerations, and in light of the principle that a sentence should be

   “sufficient, but not greater than necessary,” 18 U.S.C. § 3553(a), Mr. Spradley moves for

   compassionate release. Combined with the “extraordinary and compelling” fact that his life

   sentence is disproportionately punitive, no longer supported by the victim’s father or the

   current guidelines scheme, Mr. Spradley maintains he is entitled to and has earned

   compassionate release. The § 3553(a) factors weigh in favor of reducing his sentence

   pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). Mr. Spradley has a demonstrated record of

   rehabilitation and a solid release plan that includes housing and employment.



                                                     Respectfully submitted,




                                                       By:
                                                              MiAngel Cody
                                                              Counsel for Anthony Spradley



                                                  13
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 14 of 18 PageID #: 2871




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                               CERTIFICATE OF SERVICE


          The undersigned, MiAngel Cody, an attorney with TDC Law Office hereby certifies
   that on October 8, 2021, I electronically filed the following with the Clerk of the Court
   using the CM/ECF system:
                  DEFENDANT ANTHONY SPRADLEY’S
     REPLY IN SUPPORT OF HIS MOTION FOR COMPASSIONATE RELEASE

                                                                   /s/ MiAngel Cody
                                                                   MIANGEL CODY

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                                               14
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 15 of 18 PageID #: 2872




                      EXHIBIT A: BOP RECORD




                                        15
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 16 of 18 PageID #: 2873
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 17 of 18 PageID #: 2874
Case 1:98-cr-00038-JMS-MJD Document 228 Filed 10/08/21 Page 18 of 18 PageID #: 2875
